     Case 2:25-cv-00262-APG-EJY                   Document 29          Filed 04/10/25        Page 1 of 3




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 9     Counsel for Defendant Greystar Management
       Services, LLC (formerly known as Greystar
10     Management Services, LP)
11                                         UNITED STATES DISTRICT COURT
12                                                 DISTRICT OF NEVADA
13
            NYLYNN MILES, on behalf of herself and all              Case No. 2:25-cv-00262-APG-EJY
14          others similarly situated,
                                                                       ORDER GRANTING
15                           Plaintiffs,                            JOINT MOTION FOR MODIFIED
                                                                    BRIEFING SCHEDULE
16          v.
17          GREYSTAR MANAGEMENT SERVICES,
            LP, and DOES 1 through 50, inclusive,
18
                             Defendants.
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21                Defendant Greystar Management Services, LLC (“Greystar”) 1 and Plaintiff Nylynn Miles

22     (“Plaintiff”) (collectively, the “Parties”), through their undersigned counsel, respectfully submit this

23     motion for an order entering the Parties’ proposed briefing schedule related to Greystar’s

24     forthcoming Motion to Compel Arbitration Pursuant to the Federal Arbitration Act, to Dismiss

25     Pursuant to Federal Rule of Civil Procedure 12(b)(6), and to Strike Class Allegations Pursuant to

26     Federal Rule of Civil Procedure 12(f) (“Greystar’s Motion”). In support, the Parties state as follows:

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           The correct entity name is Greystar Management Services, LLC, formerly known as Greystar Management Services, LP.
                                                             1
     Case 2:25-cv-00262-APG-EJY           Document 29         Filed 04/10/25      Page 2 of 3




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 2            1.      The Court entered an Order on Stipulation on February 7, 2025, ordering Greystar

 3     to answer or otherwise respond to Plaintiff’s Amended Complaint on or by April 7, 2025 (ECF No.

 4     8).

 5            2.      Greystar will file Greystar’s Motion on April 7, 2025.

 6            3.      The Parties have conferred on a briefing schedule in connection with Greystar’s

 7     Motion.

 8            4.      The Parties respectfully request the Court enter the following briefing schedule:

 9     Plaintiff must file her response to Greystar’s Motion on or by May 7, 2025. Greystar must file its

10     reply to Greystar’s Motion on or by May 30, 2025.

11            5.      The rationale for the extension is as follows: Plaintiff’s counsel requested the

12     extension to manage her own full case load after an extended medical leave and Greystar kindly

13     showed professional courtesy and agreed.

14            6.      Greystar requests a reciprocal extension.

15            7.      This motion is not being made for purposes of delay or any other improper reason.

16            Respectfully submitted,

17

18            DATED this Ninth day of April, 2025.

19                                           TAKOS LAW GROUP, LTD.

20
                                                    /s/ Zachary P. Takos
21                                           Zachary P. Takos, Esq., Nevada Bar No. 11293
                                             10785 West Twain Avenue, Suite 224
22                                           Las Vegas, Nevada 89135
23                                           Shawn D. Fabian, Esq., Illinois Bar No. 6310637
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                                             Services, LLC (formerly known as Greystar
27                                           Management Services, LP)
28
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     Case 2:25-cv-00262-APG-EJY   Document 29        Filed 04/10/25      Page 3 of 3



                                    RAFII & ASSOCIATES, P.C.
 1

 2
                                           /s/ Rachel Mariner
 3                                  Rachel Mariner
                                    1120 N. Town Center Dr., Suite 130
 4                                  Las Vegas, Nevada 89128
 5                                  Counsel for Plaintiff Nylynn Miles
 6

 7
         IT IS SO ORDERED:
 8
                April 10, 2025
         Dated:__________________
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10                                         ________________________
                                           ANDREW P. GORDON
11                                         CHIEF UNITED STATES DISTRICT JUDGE

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